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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

 Wilmington Trust, National Association, Not in Its                      Civil Action No.:
 Individual Capacity, but Solely as Trustee for MFRA Trust               2:21-CV-00278-NT
 2015-1
        Plaintiff,                                                       Re:
                                                                         334 Deerwander Road,
 v.                                                                      Hollis Center, ME
 Henry W. Howe and Melanie B. Howe,                                      04042
       Defendants,                                                       Mortgage:
 and                                                                     April 20, 2007
                                                                         Book 15139, Page 0540
 Asset Acceptance, LLC, Credit Acceptance Corporation,
        Parties-in-Interest
 and
 Melanie B. Howe,
       Plaintiff-in-Counterclaim
 v.
 Wilmington Trust, National Association, Not in Its
 Individual Capacity, but Solely as Trustee for MFRA Trust
 2015-1, and Fay Servicing, LLC,
        Defendants-in-Counterclaim.


        PLAINTIFF’S MOTION FOR RECONSIDERATION OF THE PORTION OF
  THIS COURT’S ORDER, [ECF 88], GRANTING SUMMARY JUDGMENT AGAINST
 FAY SERVICING LLC ON THE COUNTERCLAIM ALLEGING VIOLATION OF THE
                                  FDCPA

        NOW COMES the Plaintiff in this matter, Wilmington Trust, National Association, Not in

 Its Individual Capacity, but Solely as Trustee for MFRA Trust 2015-1 (hereinafter “Plaintiff”), and

 the Defendant-in-Counterclaim, Fay Servicing, LLC (“Fay”), pursuant to Fed. R. Civ. P 59(e) and

 60(b) and Local Rule 7(f) and hereby requests reconsideration of the portion of this Court’s Order,

 ECF 88, granting the Defendant, Melanie B. Howe’s Motion for Summary Judgment on her

 counterclaim alleging a violation of the Fair Debt Collection Practices Act. In support of this

 Motion the Plaintiff submits the Memorandum of Law filed herewith.
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 DATED: January 2, 2025

                                                      /s/ Reneau J. Longoria, Esq.
                                                      Reneau J. Longoria, Esq. Bar No. 005746
                                                      John A. Doonan, Esq. Bar No. 003250
                                                      Haley H. Carter, Esq. Bar No. 011253
                                                      Attorney for Plaintiff
                                                      Doonan, Graves & Longoria, LLC
                                                      100 Cummings Center, Suite 303C
                                                      Beverly, MA 01915
                                                      (978) 921-2670
                                                      RJL@dgandl.com

                                 CERTIFICATE OF SERVICE

        I, Reneau J. Longoria, Esq., hereby certify that on this 2nd January, 2025 I served a copy

 of the above document by electronic notification using the CM/ECF system and/or First-Class

 Mail to the following:

                                                      /s/ Reneau J. Longoria, Esq.
                                                      Reneau J. Longoria, Esq. Bar No. 005746
 Henry W. Howe IV
 350 River Road                                       Asset Acceptance LLC
 Standish, ME 04084                                   c/o Corporation Service Company,
                                                      45 Memorial Circle
 Henry W. Howe IV                                     Augusta, ME 04330
 83 Deer Crossing Road
 Limerick, ME 04048
                                                      Credit Acceptance Corporation
 John Z. Steed, Esq                                   c/o Kimmel Beach & Fitzpatrick, P.A.,
 Island Justice                                       Attorney
 P.O. Box 771                                         62 Portland Road, Suite 1
 Stonington, ME 04681                                 Kennebunk, ME 04043
